Case 3:17-cv;z - Document 36 Filed 07/20/18 Page 1 of 17
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

C2ALNG = 3:17ev30031

JANETTE HERNANDEZ PAGAN, PPA
F.., @ minor
PLAINTIFF

CITY OF HOLYOKE, A Municipal

Corporation, OFFICER THOMAS J.

LEAHY, OFFICER JAMES DUNN,

OFFICER JABET LOPEZ
DEFENDANTS

   

DEPOSITION OF:

Taken before Roxanne C. Costigan,
Certified Merit Reporter, Notary Public, pursuant to
Rule 30 of the Massachusetts Rules of Civil
Procedure, at the law offices of ACCURATE COURT
REPORTING, INC., 1500 Main Street, Suite 222,
Springfield, MA, on February 1, 2018.

Roxanne €.. Costhigan
Certified Merit Reporter

 

 

 

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Case 3:17-¢ a Document 36 Filed 07/20/18 Page 2 of 17
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February 01, 2018

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February 01, 2018

 

 

A. No.

Q. No suspensions?

A. No.

Q; Do you remember that night with the

Holyoke police?

A. Yes:
0: You were what, twelve years old then?
A. Yes.
ME. PEINBERO: .Yes, sir.
TRE WETNESS: Yes, sir.
O-. (By Mr. Emma) Listen to him. You don't

have to call me sir for my purposes, but if he wants
you to call me sir, that's fine, okay? And that means
you're a good, respectful young man. Thank you.

Do you remember what time it was that you

went out to get your little brother?

A. I know it was dark outside.

C. Do you remember about what time it was?
A Between the hours of eight and ten.

C. All right. When did you encounter

Mr. Sayas?
A. After I have received a call from my
mother to go get my brother outside.

S. Okay. Well, maybe I misunderstood what

 

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Case ay Document 36 Filed 07/20/18 Page 4 of 17

February 01, 2018

 

 

your mother told us, but my understanding was that she
told you to go get your brother. Were you in the
house when she told you to go get your brother?

A. I was in the house.

On All right. And you went outside, and
when did you encounter Mr. Sayas?

a. I was walking towards the basketball

court and he came out of a building that's adjacent to

ours.
QO. Did you know him?
A. No.
O. You had never laid eyes on him before?
&. No. I have seen him around the
neighborhood.
: Okay. Did he have a gun then when you

first encountered him?

Yes, he had a gun in his hand.

And you saw the gun in his hand then?
Fes.

Did it frighten you?

Yes.

oP OP O >

Why did it frighten you?
A. Because I know it was a deadly weapon and

it could hurt somebody.

 

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Case S17 eae oN Document 36 Filed 07/20/18 Page 5 of 17

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Q.

A.

QO.
brother?

A.

Gi.

 

What was he doing? What was he saying?

He was saying that he was going to kill

himself, that nobody loved him.

He is a grown man, right?

Yes.

About how old would you say?

I don't know. He looked young.
What did you do?

I didn't want him to hurt himself because

I knew I could have done something to prevent that.

You think you could have helped him?

Yes.

How do you think you could have done

By telling him not to, trying to convince
the weapon.

Did you try to do that?

Tes .

In the meanwhile, where was your little

My brother, I had went to go get him, he

wasn't at the basketball court, so he was at one of

his friend's house.

So, did you go to the basketball court

 

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Case EP Ay Document 36 Filed 07/20/18 Page 6 of 17

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February 01, 2018 11

 

 

first and then after that encountered Mr. Sayas?
A. Yes.
OQ. Were you on your way home from the

basketball court --

A. Yes -

OO. -- when you saw Mr. Sayas?

A. yes.

Q. All right. So, your plan changed; you

didn't go home, did you?

A. No.
Q. Okay. You did you stay with Mr. Sayas?
A. i @idnt stay with him.. I tried

convincing him.

Chi Where were you when you had this
conversation with him?

A. It was right next to the dumpster outside

of the complex. Right in the complex, there is a

dumpster.
Q. Can you give me a street name?
A. Lyman.
. On Lyman Street?
A. Yes. North Summer, that intersection.
ee Was it near the basketball court?
A. Yes.

 

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Case ~ eTh Document 36 Filed 07/20/18 Page 7 of 17
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| eae aetna:
February 01, 2018
OO: About how far away?
A. ine basketball court, I would say, was a

good twenty, thirty feet.

QO. Mr. Torres, we know that the events
happened at the bridge, and I'm not so sure of the
layout of the map of the area. So, where was your
house in relation to the bridge, about how far away?
In relation to the bridge?

z Yeah.
It was at least a two, three minute walk.

Okay. About how many blocks away?

P 0 a © Oe

We lived in one block, and all you had to
do to get to the bridge was cross the street and
across the canal bridge.

Q. Okay. So, when you would walk out the
front of your house, what street would you be on?

A. North Summer.

OQ; How would you walk from that point on
North Summer to the bridge?

A. After you would come out of the building,
you would take a left and you would cross the street,
go straight and take a right.

i What's the name of that restaurant on the

Holyoke?

 

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Case 3:17-cy-30031-MGM Document 36 Filed 07/20/18 Page 8 of 17

 

 

you live on what I'm calling the east side of
Amedeo's? Do you understand what I mean?

A. No, + don't.

Q. Okay. The bridge runs from South Hadley
to Holyoke, correct?

A. Yes.

Cr. Amedeo's is about, what, right here, is
that correct?

A. Yes.

GC. All right. And if we draw a map, I think
South Hadley is north of Holyoke, would you agree?

A. I don't know the direction.

e. Okay. If you were driving a car from
South Hadley to Holyoke to get to your house, when you
reach Holyoke, would you have turned left or FiGht ?

A. 10OU would turn left .

QO. Got you. I put an X back in there
somewhere, right?

A. More over.

Ck: wil right. Se, you left your house and

you would have walked towards Amedeo's?

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A. Amedeo's.
oe Were you on the east side of Amedeo's,
that is, beyond Amedeo's if you had come across -- did

 

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Case 3:17-cv3z30031-MGM Document 36 Filed 07/20/18 Page 9 of 17

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February 01, 2018

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A.

OQ.

A.
heard Edgar
afterwards.

G.

A.

iD.
Rivera came

A.

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-- as he was walking?

Tes .

That was a silver gun, was it not?
Yes.

A revolver?

I don't -- I didn't know what a revolver

Okay. At some point in time, did you
Mr. Rivera?

There was some guy who came out

afterwards after him.

Where was he when you first saw him?
He came out afterwards, because after I

Saying that, he kept walking and he came

Okay. Edgar meaning Mr. Sayas?

Yes.

So, Mr. Sayas was walking, and then Mr.
out?

Yes.

Did he come out of a building?

The same building.

Same building as Mr. Sayas?

Yes:.

 

 

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Case 3:17-cv-30031-MGM Document 36 Filed 07/20/18 Page 10 of 17

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February 01, 2018

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©. So, when Mr. Sayas started walking

towards Amedeo's --

A. Yes.
. -- was Mr. Rivera walking along with him?
A. He ran after -- he came running out of

the building.

Q. Okay. And when he came running out of
the building, Mr. Sayas was up ahead?

A. He was up ahead.

o. And you were behind Mr. Sayas, and
essentially, the three of you were moving towards

Amedeo's?

A. Yes.

QO. What happened next?

i. He was walking.

O. Who is he -- I'm going to ask you not to

use pronouns.

A. Yes.

Co. Use Mr. Sayas or use names, okay?

A. Sorry. Edgar, his name, he was walking
towards the bridge, and Jose Rivera, he came -- he

Came leat me. Me Said, Oh, he is acting crazy. Co up
behind him and try to take the gun away from him.

O.. ALE Fight. Did you try to take the gun

 

 

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Case 3:17-cv-30031-MGM Document 36 Filed 07/20/18 Page 11 of 17

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February 01, 2018:

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away from him?
A. No, I did not. He was walking towards

the bridge, and he ended up shooting. After he shot,

Jose Rivera ran away.

Q. Okay. So, Mr. Sayas walked up to the
bridge?

A. Yes.

GC. That's where the bridge begins on the

Holyoke side, right?

A. He just passed the canal, just passing
the canal.

O: Just passed the canal. Did he actually
get on to the bridge?

A. No.

0. Did Mr. Sayas -- did you see Mr. Sayas at

any time stand on the bridge?

A. No.

GO. That would be the roadway or the sidewalk
that --

A. Yeah.,

G. “> CQuIeEitules part of the bridge, you

never saw him go that far up on to the bridge?
A. No,- 1 did not .

So, where was he standing again when he

 

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Case 3:17-cv-30031-MGM Document 36 Filed 07/20/18 Page 12 of 17

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February 01, 2018

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was shooting?
Be. Just on the canal bridge.

O. On the canal bridge. That's before you

get to the large bridge, right?

A. Yes.

oO. And you saw him shooting?

A. Yes.

O. How far away from him were you when you

saw him shooting?

A. fen. Eeetk .

QO. Ten feet?

A. (Indicating)

. Yes?

A. Yes .

©. _ And did he hit anything?

A. He shot twice in the air, and he shot at
cars.

GO: What were you doing when you were
shooting?

A. I crouched down, trying to take cover.
There was no cover. I was scared.

CY Where were you?

A. I was ten feet, I was behind him.

QO. Was there anything around you that you

 

 

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Case 3:17- “CVs 30031-MGM Document 36 Filed 07/20/18 Page 13 of 17

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can identify?

A rail.
Okay. And what happened next?

He ended up shooting at cars and took a

right towards Leverault's gauge.

Whose garage?

Leverault's garage.

L-E-V-E-R-A-U-L-T, something like that?
Something like that.

Okay. Leverault's garage. So, he shot,
took a right to go to Leverault's garage?
Yes, behind some factories.

Did you see him hit anything?

I saw him hit cars.

How many?

I don't remember.

More than one?

More than one.

Where were these cars?

They were driving towards Holyoke.

They were on the bridge?

No. They were past the bridge.

So, they had already come across the

bridge into Holyoke?

 

 

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February 01, 2018

Case 3:17-cv-30031-MGM Document 36 Filed 07/20/18 Page 14 of 17

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A Yes.

a. And had they come across the bridge and

had they turned left or right after coming into

Holyoke?

A. I don't know. They were just driving
straight.

OQ. Straight towards you?

A. No. Straight towards Holyoke, coming off

the bridge coming to Holyoke.

©. My question is, when he shot -- when he
hit these cars?

A. Yes.

GC. Shot at the cars and he hit the cars,
were the cars still on the bridge or had they come off
the bridge into Holyoke?

A. They were coming off the bridge.

Oo. All right. So, then, what happened next?
What happened next?

A. He went towards Leverault's garage, and I
still followed him. He ended up sitting on this

little bank, like, where they put flowers.

0. Had the police arrived yet?
A. No.
On And you followed him after he had shot at

 

 

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Case 3:17-cv-30031-MGM Document 36 Filed 07/20/18 Page 15 of 17

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February 01, 2018

fired?

A. Yes.

a. So, what happens next?

A. Afterwards, the police arrive, and I
was -- I was scared, and I had hid behind the wall.

O.. Okay. And that is down behind
Leverault's garage?

A. ia Parent -

G2 In front of Leverault's garage?

A. Yes.

. When the police arrived, where was Mr.
Sayas?

A. He started walking towards them.

oO. Walking towards the police?

A. Yes.

©. As he was walking towards the police,

A.

towards the

oO.
BR,

 

tell us what happened. Describe the scene.

I was hiding behind the wall. He walked

police, and they were ordering him to put

his gun down and --

Go ahead.

He walked towards -- and, like, towards,

like, the barrier they had set up, and I saw a Police

Officer: tackle him.

 

 

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Case 3:17- ae 30031-MGM Document 36 Filed 07/20/18 Page 16 of 17

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tackle Mr.

Take down Mr. Sayas?
Yes.

About how many police officers were

I don't know. I don't remember.
Police cars?

I don't remember.

But there were police cars?
Yes.

You don't remember how many?
No.

More than one?

Yes.

More than five?

I don't remember.

Okay. So, you saw the Police Officer

Sayas?

Yes.

the police didn't shoot at Mr. Sayas, did

No.

He certainly didn't shoot at them?
No.

And about how far away were you from Mr.

 

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Case ee M Document 36 Filed 07/20/18 Page 17 of 17

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February 01, 2018

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Sayas and the Police Officer when he was taken down?

A. I would say almost a whole football
field:

G- Football field away?

A. Yes.

O< It was dark out?

A. Yes.

Q. But there was some lighting around,

wasn't there?
A. Yes.
Overhead lights, street lights, and such?
Yes, from the bridge.
Were you hiding in the shadows?

No. I was hiding behind the wall.

ob OP ©

Okay. And then what happened?

A. After - saw Him. get tackled, I was -- I
panicked and I didn't know what to do. I was scared.
So, I ran the other way.

Oo. You panicked. Why did you panic?

A. Because I didn't know what would happen
next. I didn't know if they were going to do the same
thing to me, knowing that I didn't know anything.

Oo. Well, you didn't have a gun, did you?

As No, 1.did- not.

 

 

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